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                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF DELAWARE

In re:                            ) Chapter 11
                                  )
CENTER CITY HEALTHCARE, LLC d/b/a ) Case No. 19-11466 (MFW)
HAHNEMANN UNIVERSITY HOSPITAL, et )
al.,1                             ) Jointly Administered
                                  )
                    Debtors.      ) Hearing Date: January 27, 2021 at 10:30 a.m. (ET)
                                    Objection Deadline: January 7, 2021 at 4:00 p.m. (ET)
                                  )
                                  )

           DEBTORS’ SECOND OMNIBUS OBJECTION TO CLAIMS (SUBSTANTIVE)
           PURSUANT TO SECTIONS 502(b) AND 503 OF THE BANKRUPTCY CODE,
            BANKRUPTCY RULES 3001, 3003, AND 3007, AND LOCAL RULE 3007-1
                                (No Liability, Misclassified and Modified Amount)

      Claimants receiving this Objection should locate their name(s) and claim number(s) on Exhibits A, B or C
      to the Proposed Order attached to this Objection to learn the grounds for the objection pertaining to their
                                 claim(s) and the relief being sought by the Debtors.

          Please be aware that if you filed a proof of claim against the Debtors that is identified on any of the
      Exhibits attached to this Objection, the Debtors have objected to that claim through this Objection. If you
        have filed more than one proof of claim against the Debtors, each such claim may be objected to on the
        same or different Exhibits to this Objection. This Objection thus directly affects your rights, and your
       claim may be reclassified, reduced, modified, disallowed, expunged, or eliminated by the relief sought by
                       the Debtors in this Objection or any further objection that may be filed.

         The relief sought herein is without prejudice to the Debtors’ right to pursue further non-substantive
      objections against the claims listed on Exhibits A, B or C to the Proposed Order attached to this Objection.


               By this second omnibus objection (“Objection”), the debtors and debtors in possession

  (collectively, the “Debtors”) in the above-captioned chapter 11 cases (the “Chapter 11 Cases”),

  seek the entry of an order pursuant to sections 502(b) and 503 of title 11 of the United States Code




  1            The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number,
               are: Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St.
               Christopher’s Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of PA,
               L.L.C. (1617), SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care Center,
               L.L.C. (6447), SCHC Pediatric Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast Pediatrics,
               L.L.C. (4056), TPS of PA, L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C. (5536), TPS
               IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C. (5540). The Debtors’ mailing address is 216 North Broad
               Street, 4th Floor, Philadelphia, Pennsylvania 19102.



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(the “Bankruptcy Code”), Rules 3001, 3003 and 3007 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”) and Rule 3007-1 of the Local Rules of Bankruptcy Practice

and Procedure of the United States Bankruptcy Court for the District of Delaware

(the “Local Rules”), substantially in the form attached hereto as Exhibit 1 (“Proposed Order”):

(a) disallowing certain claims identified on Exhibit A attached to the Proposed Order for which

the Debtors’ books and records reflect no liability (“No Liability Claims”); (b) modifying the

priority status of certain claims identified on Exhibit B to the Proposed Order (the “Misclassified

Claims”); and (c) modifying the amount of certain claims identified on Exhibit C to the Proposed

Order (the “Modified Amount Claims,” and collectively with the No Liability Claims and the

Misclassified Claims, the “Disputed Claims”). In support of this Objection, the Debtors rely on

the declaration of Allen Wilen (the “Wilen Declaration”), attached hereto as Exhibit 2. In further

support of this Objection, the Debtors respectfully state as follows:

                                         JURISDICTION AND VENUE

             1.          The United States Bankruptcy Court for the District of Delaware (the “Court”) has

jurisdiction over this Objection pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

Order of Reference of the United States District Court for the District of Delaware, dated February

29, 2012. This is a core proceeding under 28 U.S.C. § 157(b)(2).

             2.          Pursuant to Local Rule 9013-1(f), the Debtors consent to the entry of a final

judgment or order with respect to this Objection if it is determined that the Court, absent consent

of the parties, cannot enter final orders or judgments consistent with Article III of the United States

Constitution.

             3.          Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.




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             4.          The statutory bases for the relief sought herein are sections 502, 503 and 507 of the

Bankruptcy Code, Bankruptcy Rules 3001, 3003 and 3007, and Local Rule 3007-1.

                                                  BACKGROUND

             5.          On June 30 and July 1, 2019 (collectively, the “Petition Date”), each of the Debtors

filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code. The Debtors are

operating their businesses and managing their properties as debtors in possession pursuant to

sections 1107(a) and 1108 of the Bankruptcy Code. On the Petition Date, the Debtors moved for

joint administration and procedural consolidation of the chapter 11 cases pursuant to Bankruptcy

Rule 1015(b). No entity has requested the appointment of a trustee or examiner in these chapter

11 cases.

             6.          On July 15, 2019, the United States Trustee for the District of Delaware (“U.S.

Trustee”) appointed an Official Committee of Unsecured Creditors (“Committee”) in these cases

pursuant to section 1102 of the Bankruptcy Code [D.I. 182]. Thereafter, on February 20, 2020,

the U.S. Trustee amended its Notice of Appointment of the Committee [D.I. 1421].

             7.          A description of the Debtors’ business and operations and the events leading to the

commencement of the chapter 11 cases is set forth in the Declaration of Allen Wilen in Support of

First Day Relief [D.I. 2].

                                      THE DEBTORS’ CLAIMS PROCESS

             8.          On August 14, 2019, the Debtors filed their schedules of assets and liabilities and

statements of financial affairs [Docket Nos. 445-479] (as amended, supplemented, or otherwise

modified, the “Schedules”).

             9.          On June 11, 2020, the Court entered the Order (I) Establishing Deadlines for Filing

Proofs of Claim, Including Section 503(b)(9) Claims, and (II) Approving the Form and Manner of



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Notice Thereof [Docket. No. 1666] (the “Bar Date Order”) pursuant to which the Court

established, inter alia: (a) the General Bar Date (as defined in the Bar Date Order) as August 5,

2020 at 5:00 p.m. (prevailing Eastern Time); (b) the Amended Schedules Bar Date (as defined in

the Bar Date Order) as the later of (i) the General Bar Date or (ii) 5:00 p.m. (prevailing Eastern

Time) on the date that is twenty-one (21) days from the date on which the Debtors provide notice

of an amendment or supplement to the Schedules; and (c) the Rejection Damages Bar Date (as

defined in the Bar Date Order) as the later of (i) the General Bar Date or (ii) the date that is thirty

(30) days following service of a notice of the effective date of rejection of any executory contract

or unexpired lease of the Debtors.

             10.         Written notice of the Bar Date Order (the “Bar Date Notice”) was mailed to, among

others, all known creditors listed on the Schedules, and the Bar Date Notice was served on all

parties who had filed requests for notice under Bankruptcy Rule 2002 as of the date of the Bar

Date Order.

             11.         As   of   the   filing   of   this       Objection,   over   2,600   proofs   of   claim

(the “Proofs of Claim”) have been filed in these Chapter 11 Cases. The Proofs of Claim are

recorded on the official claims register (the “Claims Register”) maintained by Omni Agent

Solutions, the agent retained by the Debtors to assist with claims processing in these Chapter 11

Cases (the “Claims Agent”).

             12.         In the ordinary course of business, the Debtors maintain records (the “Books and

Records”) that reflect, among other things, certain of the Debtors’ liabilities and the amounts owed

to their creditors.




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                                              RELIEF REQUESTED

             13.         By this Objection, the Debtors seek the entry of the Proposed Order, pursuant to

section 502, 503 and 507 of the Bankruptcy Code, Bankruptcy Rules 3001, 3003 and 3007, and

Local Rule 3007-1, granting the following relief with respect to the Disputed Claims:

                         a.     disallowing in full all No Liability Claims identified on Exhibit A to the
                                Proposed Order on the basis that each asserts a claim for which the Debtors
                                are not liable with respect to basis or amount;

                         b.     modifying the priority status of all Misclassified Claims identified on
                                Exhibit B to the Proposed Order to reflect, based upon the Debtors’ Books
                                and Records, the claim’s proper treatment in the priority scheme;

                         c.     modifying the amount of all Modified Amount Claims identified on Exhibit
                                C to the Proposed Order based upon the Debtors’ Books and Records; and

                         d.     authorizing the Claims Agent to modify each of the Disputed Claims on the
                                Claims Register in accordance with the Proposed Order.

                                             BASIS FOR OBJECTION

             14.         Section 502(b) of the Bankruptcy Code provides in pertinent part:

                         [I]f such objection to a claim is made, the court, after notice and a
                         hearing, shall determine the amount of such claim in lawful currency
                         of the United States as of the date of the filing of the petition, and
                         shall allow such claim in such amount, except to the extent that—
                         (1) such claim is unenforceable against the debtor and property of
                         the debtor, under any agreement or applicable law for a reason other
                         than because such claim is contingent or unmatured . . . .

11 U.S.C. § 502(b)(1). The burden of proof for determining the validity of claims rests on

different parties at different stages of the objection process. As explained by the Third Circuit:

                          The burden of proof for claims brought in bankruptcy court under
                          11 U.S.C. § 502(a) rests on different parties at different times.
                          Initially, the claimant must allege facts sufficient to support
                          the claim. If the averments in his filed claim meet this standard
                          of sufficiency, it is “prima facie” valid. In other words, a claim
                          that alleges facts sufficient to support legal liability to the
                          claimant satisfies the claimant’s initial obligation to go forward.
                          The burden of going forward then shifts to the objector to produce
                          evidence sufficient to negate the prima facie validity of the

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                          filed claim. . . . In practice, the objector must produce evidence
                          which, if believed, would refute at least one of the allegations
                          that is essential to the claim’s legal sufficiency. If the objector
                          produces sufficient evidence to negate one or more of the sworn
                          facts in the proof of claim, the burden reverts to the claimant
                          to prove the validity of the claim by a preponderance of
                          the evidence.

In re Allegheny Int’l Inc., 954 F.2d 167, 173-74 (3d. Cir. 1992) (citations omitted). Once the

prima facie validity of a claim is rebutted, “[i]t is for the claimant to prove his claim, not for

the objector to disprove it.”                In re Kahn, 114 B.R. 40, 44 (Bankr. S.D.N.Y. 1990)

(citations omitted).

A.           No Liability Claims

             15.         Upon reviewing the Proofs of Claim filed against the Debtors in these Chapter 11

Cases, supporting documentation attached thereto, and their own Books and Records, the Debtors

have identified certain Proofs of Claim that can be characterized as No Liability Claims—i.e.,

claims that lack any basis, have been satisfied, and/or that erroneously assert a liability not

reflected in the Books and Records.

             16.         The Debtors therefore respectfully request that the No Liability Claims, as set forth

in Exhibit A to the Proposed Order, be disallowed and expunged in full.

B.           Misclassified Claims

             17.         Upon reviewing the Proofs of Claim filed against the Debtors in these Chapter 11

Cases, supporting documentation attached thereto, and their own Books and Records, the Debtors

have identified certain Proofs of Claim that can be characterized as Misclassified Claims —i.e.,

claims that have been filed with an improper classification according to information included in

the claims and/or the Debtors’ Books and Records. Each of the Misclassified Claims has been

filed as either a “secured,” “administrative” and/or “priority” claim. Certain of these claims assert

a right to priority where none exists, either without identifying a basis for priority status or by

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erroneously asserting a basis for priority under Bankruptcy Code section 507.

             18.         With respect to amounts asserted pursuant to section 503(b)(9), the Debtors, upon

review of each Misclassified Claim and all supporting information and documentation therewith,

and in conjunction with their own Books and Records, have determined that certain portions of

such claims were based upon goods received outside the twenty-day prepetition period or were

based upon services rendered rather than goods received. As such, these claims (or the relevant

portions of such claims) are not entitled to priority.

             19.         Based on the Debtors’ review of the Misclassified Claims and the Debtors’ Books

and Records, the Debtors have determined that the Claims, or portions of the Claims, should be

reclassified as general unsecured claims. Failure to reclassify the Misclassified Claims would

award certain claimants undue priority, to the detriment of other creditors and parties in interest in

these Chapter 11 Cases. Accordingly, the Debtors respectfully request that the Misclassified

Claims listed on Exhibit B to the Proposed Order be reclassified as general unsecured claims or

in the manner otherwise specified therein pursuant to section 502 of the Bankruptcy Code.

C.           Modified Amount Claims

             20.         Upon reviewing the Proofs of Claim filed against the Debtors in these Chapter 11

Cases, supporting documentation attached thereto, and their own Books and Records, the Debtors

have identified certain Proofs of Claim that assert amounts that are inconsistent with the amounts

reflected in the Debtors’ Books and Records. There are several possible reasons for variances in

asserted and reconciled amounts, and in this instance such reasons relate to the Debtors’ resolution

and satisfaction of a portion of the asserted claim pursuant to a Court approved stipulation.

             21.         The Debtors accordingly seek to modify the claim amount in the manner set forth

in Exhibit C to the Proposed Order and request the entry of an order authorizing the Claims Agent

to modify the claim to reflect the appropriate claim amount.

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                                     SEPARATE CONTESTED MATTERS

             22.         To the extent that a response is filed regarding any Disputed Claim listed in the

Objection and the Debtors are unable to resolve the response, each such claim, and the Objection

by the Debtors to each such claim asserted herein, shall constitute a separate contested matter as

contemplated by Bankruptcy Rule 9014. Any order entered by the Court regarding the Objections

shall be deemed a separate order with respect to each claim.

                                          RESERVATION OF RIGHTS

             23.         The Debtors expressly reserve their rights to amend, modify or supplement this

Objection, and to file additional objections to any claims (filed or not) in these cases. Moreover,

should one or more of the bases for objection stated in this Objection be overruled, or otherwise

not sustained, the Debtors reserve the right to object to the Claims on any other grounds that law

or equity permit. Nothing contained herein shall be deemed to be or construed as a waiver of the

Debtors’ right to object to such claims.

             24.         Notwithstanding anything contained in this Objection or in the exhibit attached to

the Proposed Order, nothing herein shall be construed as a waiver of any rights that the Debtors

may have: (a) to bring avoidance actions under the applicable sections of the Bankruptcy Code

against the holders of claims subject to the Objection; or (b) to exercise their rights of setoff against

the holders of claims subject to this Objection.

                                        ADJOURNMENT OF HEARING

             25.         The Debtors reserve the right to adjourn the hearing on any Claim subject to this

Objection. In the event that the Debtors so adjourn the hearing, the adjournment will be reflected

on the agenda for the hearing on this Objection.




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                                 COMPLIANCE WITH LOCAL RULE 3007-1

             26.         To the best of the Debtors’ knowledge and belief, this Objection and the related

exhibits annexed to the Proposed Order comply with Local Rule 3007-1. To the extent that this

Objection does not comply in all respects with the requirements of Local Rule 3007-1, the Debtors

believe such deviations are not material and respectfully request that any such requirement be

waived.



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             WHEREFORE, for the reasons set forth herein, the Debtors respectfully request that the

Court enter the Proposed Order, pursuant to sections 502(b) and 503 of the Bankruptcy Code,

Bankruptcy Rules 3001, 3003, and 3007, and Local Rule 3007-1: (a) disallowing the No Liability

Claims set forth on Exhibit A to the Proposed Order; (b) modifying the Misclassified Claims set

forth on Exhibit B to the Proposed Order; (c) modifying the Modified Amount Claims set forth

on Exhibit C to the Proposed Order; (d) authorizing the Claims Agent to amend the Claims

Register to comport with entry of the Proposed Order; and (f) granting such other and further relief

as the Court deems just and proper.

Dated: December 22, 2020
Wilmington, Delaware                            SAUL EWING ARNSTEIN & LEHR LLP

                                             By: /s/ Monique B. DiSabatino
                                                Mark Minuti (DE Bar No. 2659)
                                                Monique B. DiSabatino (DE Bar No. 6027)
                                                1201 N. Market Street, Suite 2300
                                                P.O. Box 1266
                                                Wilmington, DE 19899
                                                Telephone: (302) 421-6800
                                                mark.minuti@saul.com
                                                monique.disabatino@saul.com
                                                   -and-
                                                Jeffrey C. Hampton
                                                Adam H. Isenberg
                                                Melissa A. Martinez
                                                Shannon A. McGuire
                                                Centre Square West
                                                1500 Market Street, 38th Floor
                                                Philadelphia, PA 19102
                                                Telephone: (215) 972-7777
                                                jeffrey.hampton@saul.com
                                                adam.isenberg@saul.com
                                                melissa.martinez@saul.com
                                                shannon.mcguire@saul.com

                                                Counsel to the Debtors and Debtors in Possession




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